         Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 1 of 9



 1   JOSEPH EHRLICH - #84359
     MARK R. MEYER - #238231
 2   LOSCH EHRLICH & MEYER
     750 Battery Street, Suite 700
 3   San Francisco, California 94111
     Telephone: (415) 956-8400
 4   Email:      je@losch-ehrlich.com
                 mm@losch-ehrlich.com
 5
     Attorneys for Defendant
 6   Mai Family Corporation
 7
 8                              UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10 Brian Whitaker,                                  Case No. 4:21-cv-06411-KAW
11                 Plaintiff,                       Defendant Mai Family Corporation’s
                                                    Answer to First Amended Complaint
12                       v.                         For Damages And Injunctive Relief For
                                                    Violations Of: Americans With
13 Mai Family Corporation;                          Disabilities Act; Unruh Civil Rights
   Ken Wei and Chiayu J. Wei, Trustees of           Act
14 the Ken G. and Chiayu J. Wei 2012                And Crossclaim
   Revocable Family Trust,
15 dated May 22, 2012;
   Douglas Wertheimer and Beth A.
16 Mitchner, Trustees of the Mitchner
   Wertheimer Revocable Trust dated
17 October 14, 2014; and
   Daniel Rabb and Alison Rabb, Trustees of
18 the Rabb Family Trust dated August 6,
   2014,
19
               Defendants.
20
21
22           Defendant Mai Family Corporation (“Answering Defendant” or “Responding
23   Party”) answers the allegations of the Complaint filed by Plaintiff Brian Whitaker
24   (“Complaining Party”) (the “Complaint”) as to each paragraph as follows:
25      1.    Answering Defendant is without knowledge or information sufficient to form
26            a belief as to the truth of the allegations.
27      2.    Answering Defendant admits.
28      3.    Answering Defendant admits.
      Answer to the Complaint and Crossclaim
      4:21-cv-06411-KAW                                                                   1
        Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 2 of 9



 1    4.   Answering Defendant is without knowledge or information sufficient to form
 2         a belief as to the truth of the allegations.
 3    5.   Answering Defendant is without knowledge or information sufficient to form
 4         a belief as to the truth of the allegations.
 5    6.   Answering Defendant is without knowledge or information sufficient to form
 6         a belief as to the truth of the allegations.
 7    7.   Admitted.
 8    8.   Admitted.
 9    9.   Admitted.
10    10. Answering Defendant is without knowledge or information sufficient to form
11         a belief as to the truth of the allegations.
12    11. Admitted the business is a business establishment providing services to the
13         public. Otherwise, Answering Defendant is without knowledge or
14         information sufficient to form a belief as to the truth of the allegations.
15    12. Answering Defendant is without knowledge or information sufficient to form
16         a belief as to the truth of the allegations.
17    13. Answering Defendant is without knowledge or information sufficient to form
18         a belief as to the truth of the allegations.
19    14. Answering Defendant is without knowledge or information sufficient to form
20         a belief as to the truth of the allegations.
21    15. Answering Defendant is without knowledge or information sufficient to form
22         a belief as to the truth of the allegations.
23    16. Answering Defendant is without knowledge or information sufficient to form
24         a belief as to the truth of the allegations.
25    17. Answering Defendant is without knowledge or information sufficient to form
26         a belief as to the truth of the allegations.
27    18. Answering Defendant is without knowledge or information sufficient to form
28         a belief as to the truth of the allegations.
     Answer to the Complaint and Crossclaim
     4:21-cv-06411-KAW                                                                   2
        Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 3 of 9



 1    19. Answering Defendant is without knowledge or information sufficient to form
 2         a belief as to the truth of the allegations.
 3    20. Answering Defendant is without knowledge or information sufficient to form
 4         a belief as to the truth of the allegations.
 5    21. Answering Defendant is without knowledge or information sufficient to form
 6         a belief as to the truth of the allegations.
 7    22. Answering Defendant denies that, to the extent barriers existed or continue to
 8         exist, all barriers are easily removed without much difficulty or expense. The
 9         allegation is otherwise insufficiently clear to allow further admission or
10         denial; otherwise, Answering Defendant is without knowledge or information
11         sufficient to form a belief as to the truth of the allegations.
12    23. Denied.
13    24. Denied.
14    25. Allegation is not a factual allegation but incorporation of prior allegations.
15         Responses to each are incorporated.
16    26. Allegation is not a factual assertion but legal assertion. Answering Defendant
17         is without knowledge or information sufficient to form a belief as to the truth
18         of the allegation.
19    27. Allegation is not a factual assertion but legal assertion. Answering Defendant
20         is without knowledge or information sufficient to form a belief as to the truth
21         of the allegation.
22    28. Allegation is not a factual assertion but legal assertion. Answering Defendant
23         is without knowledge or information sufficient to form a belief as to the truth
24         of the allegation.
25    29. Answering Defendant is without knowledge or information sufficient to form
26         a belief as to the truth of the allegation.
27    30. Allegation is not a factual assertion but legal assertion. Answering Defendant
28         is without knowledge or information sufficient to form a belief as to the truth
     Answer to the Complaint and Crossclaim
     4:21-cv-06411-KAW                                                                     3
          Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 4 of 9



 1            of the allegation.
 2      31. Allegation is not a factual assertion but legal assertion. Answering Defendant
 3            is without knowledge or information sufficient to form a belief as to the truth
 4            of the allegation.
 5      32. Allegation is not a factual allegation but incorporation of prior allegations.
 6            Responses to each are incorporated. Further allegations are not factual
 7            assertions but legal assertions. Answering Defendant is without knowledge or
 8            information sufficient to form a belief as to the truth of the allegation.
 9      33. Allegation is not a factual assertion but legal assertion. Answering Defendant
10            is without knowledge or information sufficient to form a belief as to the truth
11            of the allegation.
12                                 AFFIRMATIVE DEFENSES
13   First Affirmative Defense

14   Failure to State a Cause of Action. The Complaint, and each cause of action thereof,
15   does not state facts sufficient to constitute a cause of action against each Responding
16   Party.
17   Second Affirmative Defense

18   Standing. Responding Party alleges Complaining Party is not the real party in interest
19   and/or lacks standing to bring suit.
20   Third Affirmative Defense

21   Capacity. Responding Party alleges Complaining Party does not have the legal
22   capacity to bring suit in this action.
23   Fourth Affirmative Defense

24   Necessary or Indispensable Parties. Responding Party alleges the Complaint and each
25   cause of action is barred as a result of the failure to name and serve necessary or
26   indispensable parties.
27   Fifth Affirmative Defense

28   Time Barred. Responding Party alleges that the Complaint and each cause of action
       Answer to the Complaint and Crossclaim
       4:21-cv-06411-KAW                                                                       4
          Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 5 of 9



 1   set forth therein is barred by provisions of Code of Civil Procedure section 335 et seq.
 2   and/or the equitable doctrines of laches.
 3   Sixth Affirmative Defense

 4   Assumption of Risk; Voluntary Conduct. Responding Party alleges the Complaint
 5   and each cause of action set forth therein is barred on the ground that Complaining
 6   Party voluntarily and knowingly entered into and engaged in the conduct alleged in
 7   the Complaint and voluntarily and knowingly assumed all of the risks incident to said
 8   conduct at the time and place mentioned in this Complaint.
 9   Seventh Affirmative Defense

10   Failure to Mitigate. Responding Party alleges the Complaint and each cause of action
11   set forth therein is barred on ground that the Complaining Party may not recover
12   damages that could have been avoided if reasonable and appropriate mitigation efforts
13   within the Complaining Party’s means had been taken.
14   Eighth Affirmative Defense

15   Estoppel. Responding Party alleges the Complaint and each cause of action set forth
16   therein is barred by the doctrine of estoppel. Through false language or conduct,
17   Complaining Party is estopped to assert any fact or cause of action on the ground that
18   Responding Party has relied to its prejudice upon Complaining Party’s representations
19   or conduct.
20   Ninth Affirmative Defense

21   Unclean Hands; One Who Seeks Equity Must Do Equity. Responding Party alleges
22   the Complaint and each cause of action set forth therein is barred by the doctrine of
23   unclean hands and the doctrine that a party seeking equitable relief must do equity.
24   Complaining Party has failed to do equity in the matters alleged in the Complaint, and
25   any recovery by Complaining Party must be diminished or barred by reason thereof.
26   Tenth Affirmative Defense
27   Fraud. Responding Party alleges each cause of action is barred on the ground that
28   Complaining Party or others committed fraud in relations to the matters sued upon.
       Answer to the Complaint and Crossclaim
       4:21-cv-06411-KAW                                                                     5
          Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 6 of 9



 1   Eleventh Affirmative Defense

 2   Contributory or Comparative Negligence or Fault. Responding Party alleges
 3   Complaining Party and other persons’ carelessness, negligence, or other wrongful
 4   conduct caused or contributed to any incident, injuries, loss, or damages complained
 5   of, if any, and such acts or omissions bar or reduce Responding Party’s liability.
 6   Twelfth Affirmative Defense

 7   Comparative Indemnification. Responding Party alleges that Complaining Party and
 8   other persons—whether or not parties to this action—carelessly, negligently, or
 9   intentionally proximately caused or contributed to the happening of the injury, loss, or
10   damages complained of, if any, and any damages awarded must be apportioned among
11   such persons or entities, whether or not they are parties, in proportion to any amount
12   attributable to such other persons or entities.
13   Thirteenth Affirmative Defense

14   Contractual Indemnification. Responding Party alleges that the Complaint and each
15   cause of action are barred on the ground that Complaining Party explicitly or
16   implicitly agreed to indemnify or hold harmless Responding Party for the alleged
17   injury, loss, or damages.
18   Fourteenth Affirmative Defense

19   Unauthorized Conduct. Responding Party alleges the Complaint and each cause of
20   action is barred on the ground that the acts complained of were performed by a person
21   without the authority to act upon behalf of Responding Party.
22   Fifteenth Affirmative Defense

23   Removal of Barrier not readily achievable. Responding Party alleges that part or all
24   of the barriers alleged in the Complaint have existed prior to 1991 and cannot be
25   removed easily without much difficulty or expense.
26   Sixteenth Affirmative Defense
27   Civil Code section 55.54. Responding Party alleges that Complaining Party has, in
28   whole or part failed to comply with California Civil Code section 55.54, and/or
       Answer to the Complaint and Crossclaim
       4:21-cv-06411-KAW                                                                      6
         Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 7 of 9



 1   Responding Party has complied in whole or part such that Responding Party is entitled
 2   to reduction in damages or other remedies provided.
 3                                  PRAYER FOR RELIEF
 4   WHEREFORE, Responding Party prays for trial by jury and judgment as follows:
 5         Complaining Party takes nothing by way of its Complaint;
 6         Responding Party be awarded costs of suit incurred herein;
 7         For such other and further relief as the Court deems just and proper.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Answer to the Complaint and Crossclaim
      4:21-cv-06411-KAW                                                                 7
         Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 8 of 9



 1                                       CROSSCLAIM
 2   Defendant Mai Family Corporation hereby crossclaims against Defendants Ken Wei
 3   and Chiayu J. Wei, Trustees of the Ken G. and Chiayu J. Wei 2012 Revocable Family
 4   Trust, dated May 22, 2012; Douglas Wertheimer and Beth A. Mitchner, Trustees of
 5   the Mitchner Wertheimer Revocable Trust dated October 14, 2014; and Daniel Rabb
 6   and Alison Rabb, Trustees of the Rabb Family Trust dated August 6, 2014 (the
 7   “Complaint”) and alleges as follows:
 8   1. Defendant Mai Family Corporation is a defendant in this action.
 9   2. Defendants Ken Wei and Chiayu J. Wei, Trustees of the Ken G. and Chiayu J. Wei
10      2012 Revocable Family Trust, dated May 22, 2012; Douglas Wertheimer and Beth
11      A. Mitchner, Trustees of the Mitchner Wertheimer Revocable Trust dated October
12      14, 2014; and Daniel Rabb and Alison Rabb, Trustees of the Rabb Family Trust
13      dated August 6, 2014 (hereafter “Defendants”) are defendants in this action.
14   3. Defendants are owners or lessors of 2291 Chestnut St., San Francisco, California.
15   4. On October 15, 2021, Plaintiff Brian Whitaker filed a First Amended Complaint in
16      this action alleging violations of the Americans With Disabilities Act and Unruh
17      Civil Rights Act.
18   5. The court has supplemental jurisdiction of this crossclaim because it arises out of
19      the same transactions and occurrences alleged in Plaintiff’s Complaint.
20   6. Mai Family Corporation is entitled to contribution toward or indemnity from
21      Defendants for part or all of any liability or damages that may be found to exist to
22      Plaintiff in this Action.
23   7. Defendants are wholly or partly responsible for the injuries and damages alleged
24      by Plaintiff in the Complaint.
25   8. Defendants are a substantial proximate cause of Plaintiff’s injuries and damages, if
26      any. Therefore, under general equitable principles and/or the law of contractual
27      indemnity, Mai Family Corporation is entitled to indemnity, or in the alternative, to
28      contribution from cross-defendants for their respective share of the responsibility
      Answer to the Complaint and Crossclaim
      4:21-cv-06411-KAW                                                                       8
         Case 4:21-cv-06411-KAW Document 16 Filed 12/01/21 Page 9 of 9



 1     for the injuries or damages to Plaintiff as determined by a trier of fact.
 2
 3   Dated: 11/18/2021                             Respectfully submitted,
 4                                                 LOSCH EHRLICH & MEYER
 5
                                                   By: /s/ Joseph Ehrlich
 6                                                        Joseph Ehrlich
 7                                                        Mark R. Meyer
                                                          Attorneys for Defendant
 8                                                        Mai Family Corporation
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Answer to the Complaint and Crossclaim
      4:21-cv-06411-KAW                                                             9
